         Case 1:21-cr-00050-CRC Document 100 Filed 01/30/23 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,

                        v.

 KATHERINE STAVELEY SCHWAB,                        Case No. 21-cr-50 (CRC)


                        Defendant.


                                             ORDER

       Before the Court is Defendant Schwab’s [99] Motion for Recommendation of Alternative

Designation. This Court’s general practice is to recommend a defendant’s requested Bureau of

Prisons (“BOP”) designation unless the request is inappropriate or unsupported. In keeping with

that practice, the Court will grant Defendant’s motion and make a non-binding recommendation

for designation to Federal Prison Camp Bryan, which is near Defendant’s home. In so doing,

however, the Court takes no position on the representations and allegations contained in

Defendant’s motion regarding the facility to which she is currently designated. Nor does it

question the BOP’s exclusive discretion to designate defendants to facilities that it deems

appropriate. It is therefore

       ORDERED that [99] Defendant’s Motion for Recommendation of Alternative

Designation is GRANTED.




                                                             CHRISTOPHER R. COOPER
                                                             United States District Judge

Date: January 30, 2023
